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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


   MARY PRZYTULA and BRAD BREDE, on
   behalf of themselves and all others similarly
   situated,
                                                        No. 17 Civ. 5124
                           Plaintiffs,

            v.

   BED BATH & BEYOND INC.,

                           Defendant.



                                DECLARATION OF DANIEL PEET

       I, DANIEL PEET, based on my personal knowledge of the facts stated herein, testify by

Declaration as follows:

       1.        I am over the age of 18 and am otherwise competent to testify to the matters

contained in this Declaration, and if so called, would testify to the facts below.

       2.        All of the statements in this Declaration are true and accurate to the best of my

knowledge.

       3.        Bed Bath and Beyond Inc. (“BBB”) stores are all different. Because I have

experience only with stores in the Southeast Region, the facts set forth in this Declaration are

limited to my personal knowledge of the stores in which I have experience.

       4.        I became employed by BBB in August 2003, as a Department Manager in Florida.

In 2004, I was promoted to Assistant Store Manager (“ASM”); and in 2006, I became a Store

Manager. I was promoted to District Training Manager (“District Manager”) of the Southeast

region in 2009. In September 2017, I left the Company and am no longer employed by BBB.



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          5.      When I was an Assistant Store Manager, I worked in Store #128 in Naples,

Florida and was responsible for managing approximately 16 Department Managers1 and hourly

associates on the side of the store for which I was responsible, and as many as 30 employees

working in the store as a whole when I acted as the Manager on Duty.

          6.      In my previous role as an Assistant Store Manager, my responsibilities included

directing the daily activities of Department Managers and hourly associates; training and

developing associates; interviewing and hiring employees; counseling, disciplining, issuing

warnings, and assisting in terminating associates when appropriate.

          7.      In my previous capacity as the District Operations Trainer, I oversaw 9 Florida

stores, ranging in volume from low to very high. I traveled to each one of my stores and was at a

different store location every day. While at my stores, I was on the floor observing and working

with the Store Managers and Assistant Store Managers to ensure that the stores were functioning

in an efficient way.

          8.      Typically, a BBB District Operations Trainer has responsibility for a number of

stores in a particular geographic area. Reporting to the District Operations Trainer are Store

Managers, each of whom is responsible for a single store. The Store Managers, in turn, have

Assistant Store Managers reporting to them. In Florida, each store has between 1 and 5 Assistant

Store Managers. Each store has between 1 and 7 Department Supervisors who report to the

Assistant Store Managers. Assistant Store Managers oversee Department Supervisors and hourly

store associates. The number of hourly associates varies greatly from store to store, with the

lower volume stores having fewer than 20, and higher volume stores having upwards of 90.

          9.      There are two types of ASMs at BBB: Operations Managers and Merchandise

Assistant Managers. The ASMs in the Southeast Region are classified as exempt employees.
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    The Company no longer employs Department Managers.


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       10.     Both Operations Managers and Merchandise Assistant Managers are expected to

do primarily exempt work. The responsibilities required of an ASM can vary as a result of a

number of factors.

       11.     For example, the type of ASM (Operations vs. Merchandise Assistant Manager)

has an impact on the day to day exempt responsibilities. While both types of ASMs are

responsible for managing the Department Supervisors and store associates who report to them,

Operations Managers typically have more direct reports. Operations Managers are responsible

for ensuring that the following departments, and the associates who work in them, are running

properly: Front-End, Inventory, Receiving, and Freight. Operations Managers are also

responsible for scheduling and timekeeping.

       12.     Furthermore, as a result of having a higher number of direct reports, Operations

Managers tend to spend more time on interviewing, hiring, training, payroll, disciplinary actions,

and conducting performance reviews.

       13.     Merchandise Assistant Managers, on the other hand, usually manage a smaller

team of people of approximately 8 to 10 people. They are responsible for ensuring that their

associates keep the shelves stocked. They are also responsible for enhancing store aesthetics such

as displays, and hiring and supervising employees to accomplish these goals.

       14.     While the number of associates and daily mix of duties varies, both Operations

Managers and Merchandise Assistant Managers are responsible for training, supervising, and

disciplining their associates.

       15.     An ASM’s duties are also affected by the Store Manager’s management style. If a

Store Manager is an effective delegator, the ASM will likely learn to delegate similarly and focus

on exempt responsibilities. If a Store Manager to whom an ASM reports is inclined to




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micromanage, then the ASM may not learn to delegate as effectively. The personality of each

ASM also plays a role, as some ASMs prefer to do some operational tasks by themselves,

whereas others delegate more tasks.

       16.     Store volume also has an impact on an ASM’s experience. Stores that do not

conduct as much business throughout the year are usually heavily influenced by market

seasonality as a result of “snowbird” activity when non-Floridians travel to Florida for the winter

months and the stores get extremely busy. During those winter months, the staffing needs of the

stores increase and there are typically more hourly associates on the schedule for the Assistant

Store Managers to oversee and supervise.

       17.     Another factor affecting how much hiring, firing, and discipline an ASM is doing

is applicant flow. In some regions, BBB receives fewer employment applications than in other

areas. Exempt duties such as reviewing applications, conducting interviews and offering

employment to applicants naturally consumes more of an ASM’s time in a store with a high

applicant flow. This factor is independent from whether a store is high or low volume. While

more positions need to be filled in a high volume store, some lower volume stores have very high

applicant flow and, as a result, reviewing all of the resumes becomes a time consuming

endeavor, even if the store does not hire as many individuals as in a high volume store.

       18.     BBB designates certain temporary roles such as “Manager on Duty” (“MOD”)

who is the decision-maker for the store responsible for managing service levels, safety, applicant

flow, and other areas. Serving as the MOD affords ASMs an opportunity to focus on their

supervisory responsibilities. The variation here stems from the decision-making of the Store

Manager, who is responsible for designating this role on a day to day basis.




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       19.     Based on my persoi 1 observations of Assistant Store Managers in my former

stores, the Assistant Store Manager: ;pend a signific nt amount of time performing exempt tasks

in managing Department Superviso: and hourly ass• ciates. The Assistant Store Managers in my

former stores also assisted in the hir g, firing, or dis ipline of the hourly associates.



        I declare under penalty of pe ury that the foregoing is true and correct.

Executed this V6 day of December. ,017.


                                                By:
                                                      Da iel Peet
                                                      Fo er District Operations Trainer
                                                      Be Bath and Beyond Inc.




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